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Court-Appointed Receiver and Attorneys for Court-Appointed Receiver

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


SECURITIES AND EXCHANGE
COMMISSION,                                        FIRST INTERIM FEE APPLICATION
                                                    FOR RECEIVER AND RECEIVER’S
                       Plaintiff.                   PROFESSIONALS FOR SERVICES
                                                     RENDERED FROM JULY 27, 2016
         V.                                            THROUGH MARCH 31, 2017
TRAFFIC MONSOON, LLC, a Utah Limited                           2:16-cv-00832-JNP
Liability Company, and CHARLES DAVID
SCOVILLE, an individual,                                  The Honorable Jill N. Parrish

                       Defendants.



         Peggy Hunt, the Court-appointed Receiver (the “Receiver”) of Traffic Monsoon, LLC

(“Traffic Monsoon”) and the assets of Charles David Scoville (“Scoville” and, together with

Traffic Monsoon, the “Defendants”) that were obtained directly or indirectly from Traffic

Monsoon, hereby submits this interim “Fee Application,” seeking approval by the Court of fees

and expenses incurred by the Receiver, the Receiver’s counsel, Dorsey & Whitney LLP

(“Dorsey”), and the Receiver’s accountants, Berkley Research Group (“BRG”), for the period of

July 27, 2016 through March 31, 2017 (the “Application Period”) and authorization to pay all



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allowed fees and expenses from funds of the Receivership Estate. In support hereof, the

Receiver states as follows.

                                                    I.

                                         CASE BACKGROUND

           1.        On July 26, 2016, the above-captioned case was commenced by the United States

Securities and Exchange Commission (the “SEC”) against the Defendants, alleging violations of

federal securities laws. On that same day, the Court entered a Temporary Restraining Order and

Order Freezing Assets, which was amended, in relevant part, on July 27, 2016 and on November

4, 2016. 1

           2.        On July 27, 2016, the Court entered an Order Appointing Receiver (the

“Receivership Order”), 2 thereby appointing the Receiver and stating in paragraphs 19 and 20 as

follows:

           19.     The Receiver is authorized to employ professionals to assist her in
           carrying out the duties and responsibilities described in this Order. The Receiver
           shall not engage any professionals without first obtaining an Order of the Court
           authorizing such engagement. The Receiver is authorized to retain Dorsey &
           Whitney LLP, a firm in which the Receiver is a partner, as the Receiver’s counsel
           in this matter.

           20.    The Receiver and Retained Professionals are entitled to reasonable
           compensation and expense reimbursement from the receivership estate as
           described in the “Billing Instructions for Receivers in Civil Actions commenced
           by the U.S. Securities and Exchange Commission (the “Billing Instructions”)
           agreed to by the Receiver. Such compensation shall require the prior approval of
           the Court.




1
    Docket Nos. 8, 14 & 56.
2
    Docket No. 11.

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           3.        The Court thereafter entered an Order Granting Receiver’s Ex Parte Motion

Seeking Authorization to Employ Accountants, 3 authorizing the Receiver’s employment of BRG

effective as of September 2, 2016.

           4.        On March 28, 2017, the Court entered, among other things, a Preliminary

Injunction 4 and an Amended Order Appointing Receiver (the “Amended Receivership Order”). 5

The Amended Receivership Order restates, without making substantive changes to, paragraphs

19 and 20 of the Receivership Order quoted in ¶ 2 above. 6

           5.        On May 4, 2017, the Receiver filed her First Status Report (the “Status Report”). 7

The Status Report outlines the work done by the Receiver and her professionals during the

current Application Period and is incorporated herein by reference.

                                                     II.

                FEES AND EXPENSES REQUESTED ARE ACTUAL, NECESSARY
                    AND REASONABLE FOR THE SERVICES RENDERED

           6.        During the Application Period, significant professional services were required to

perform the work outlined in the Status Report that is incorporated herein.

           7.        The Receiver and her professionals have provided actual and necessary services

related to the matters summarized in the Status Report and detailed in the Exhibits attached




3
    Docket No. 25.
4
    Docket No. 79.
5
    Docket No. 81.
6
    Id. (Amended Receivership Order ¶¶ 17-18).
7
    Docket No. 91.

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hereto for the benefit of the Receivership Estate. 8 Out-of-pocket expenses were also incurred by

the professionals in rendering services to the Receivership Estate.

         8.        Dorsey and BRG have submitted their invoices to the Receiver on a monthly

basis, and the Receiver has reviewed and approved the invoices, including with any reductions

outlined below.

         9.        The Fee Application complies with the SEC’s Billing Instructions. The Receiver

submitted this Fee Application to the SEC prior to filing it with the Court, and the SEC has

informed the Receiver that it has no objection to the payment of the fees or reimbursement of the

expenses outlined herein.

         10.       With any adjustments made, the Receiver believes that the fees and expenses are

reasonable, especially in light of the volume of work that has been done over the eight-month

Application Period as outlined in the Status Report. She also believes that the services rendered

and the expenses advanced have been beneficial to the Receivership Estate.

                                                       III.

                                       SUMMARY OF EXHIBITS

         11.       Professional services have been recorded contemporaneously with services being

rendered and these services, as well as the expenses incurred, are detailed in the attached three

Exhibits described below.

         12.       The Receiver and Dorsey have maintained their time in records organized

according to tasks, with each task record being maintained in chronological order. BRG has

maintained its time in monthly time reports, with each month being broken into task categories.

8
 The Exhibits filed with the Court have been redacted to protect privileged and strategic information. The Receiver
has provided unredacted Exhibits to the Court for in camera review.

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         13.       The following three Exhibits are attached hereto in support of this Fee

Application:

                                Exhibit A—Time Records of Receiver

                          Exhibit A                             Summary by Task

                          Exhibit A-1                           Case Administration

                          Exhibit A-2                           Asset Recovery

                          Exhibit A-3                           General Litigation

                                 Exhibit B—Time Records of Dorsey

                          Exhibit B                             Summary by Task

                          Exhibit B-1                           Case Administration

                          Exhibit B-2                           Asset Recovery

                          Exhibit B-3                           General Litigation

                          Exhibit B-4                           International Services

                          Exhibit B-5                           Out-of-Pocket Expenses

                                  Exhibit C—Time Records of BRG

                          Exhibit C                             Summary by Month

                          Exhibit C-1                           September 2016 Invoice

                          Exhibit C-2                           October 2016 Invoice

                          Exhibit C-3                           November 2016 Invoice

                          Exhibit C-4                           December 2016 Invoice

                          Exhibit C-5                           January 2017 Invoice

                          Exhibit C-6                           February 2017 Invoice

                          Exhibit C-7                           March 2017 Invoice



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                                                   IV.

                             SUMMARY OF AMOUNTS REQUESTED

           14.     The total amounts requested for the Receiver and her professionals in this Fee

Application are summarized as follows:

                   a.     Receiver: From July 27, 2016 through the end of the Application Period

           on March 31, 2017, the Receiver has worked a total of 393.10 hours providing

           receivership services to the Receivership Estate for which fees in the total amount of

           $139,747.05 have been incurred. 9

                   b.     Dorsey: From July 27, 2016 through the end of the Reporting Period on

           March 31, 2017, Dorsey has worked a total of 1,113 hours and provided legal services to

           the Receivership Estate for which fees in the total amount of $341,762.50 and out-of-

           pocket expenses in the total amount of $9,221.73 have been incurred. 10

                   c.     BRG: From July 27, 2016 through the end of the Reporting Period on

           March 31, 2017, BRG has worked a total of 1,340 hours providing forensic and general

           accounting services to the Receivership Estate for which fees in the total amount of

           $351,216.50 and out-of-pocket expenses in the total amount of $519.25 have been

           incurred. 11

           15.     The amounts requested include voluntary reductions made by the respective

professionals in an exercise of their billing judgment and/or at the request of the Receiver or the



9
    See Exh. A.
10
     See Exh. B.
11
     See Exh. C.

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SEC. Dorsey has voluntarily reduced its fees in the total amount of $9,582.50. BRG has

voluntarily reduced its fees in the total amount of $9,735.10.

           16.      The Receivership Estate has sufficient funds to pay all amounts requested. 12

                                                         V.

                   PRIOR REQUESTS AND INTERIM NATURE OF REQUEST

           17.      This is the first Fee Application of the Receiver and her professionals. Thus,

there have been no earlier requests for payment made to the Court, and the Receiver has not paid

herself, Dorsey or BRG to date.

           18.      The Receiver and her professionals understand that the authorization and payment

of fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will

be subject to final review at the close of the case and the discharge of the Receiver when the

Receiver files a final accounting and final fee application.

                                                         VI.

                     CONCLUSION AND REQUEST FOR COURT APPROVAL

           19.      For the reasons set forth above and as supported by the Exhibits attached hereto,

the Receiver respectfully submits that the fees and expenses requested herein are for actual

services that were necessary for and beneficial to the administration of the Receivership Estate.

The Receiver has made every attempt to contain the administrative expenses of this Receivership

Estate, and she submits that given the work that has been performed as outlined in the Receiver’s

Status Report, the fees and expenses that have been incurred are reasonable.

           20.      Thus, the Receiver respectfully submits this Fee Application and requests that the

Court enter an Order allowing the fees and expenses requested herein, and authorizing the
12
     See Docket No. 91 (Status Report, p. 26 & Exhs. B-D).

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of May, 2017, I caused the foregoing FIRST

INTERIM FEE APPLICATION FOR RECEIVER AND RECEIVER’S

PROFESSIONALS FOR SERVICES RENDERED FROM JULY 27, 2016 THROUGH

MARCH 31, 2017 to be electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification of the filing to all counsel of record in this case.



                                                          /s/ Candy Long




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